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UNITED STATES OF AMERICA

           -v-                                                  17-CR-348 (JGK)

SHANNON WILLIS,                                                                 ORDER

                      Defendant .

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JOHN G. KOELTL, United States District Judge:

     This Order is entered , pursuant to Federal Rule of Criminal

Procedure S(f ) , to c o nfirm the Government ' s disclosure

obligations under Brady v . Maryland , 373 U. S . 83 (1963) , and its

progeny, and to summarize the possible consequences of violating

those obligations .

     The Government must disclose t o the defense all informati o n

"favorable to an accused " that is "material either to guilt or

to punishment " and that is known to the Government .                             Id . at 8 7 .

This obligation applies regardless of whether the inf o rmati o n

would i tself constitute admissib l e evidence.            The Government

shall disclose such information to the defense pr omptly after

its existence becomes known to the Government so that the

defense may make effective use of the informati o n in the

preparation of its case .
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     As part of these obligations, the Government must disclose

any information that can be used to impeach the trial testimony

of a Government witness within the meaning of Giglio v . United

States , 405 U.S . 150 (1972) , and its progeny .     Such information

must be disclosed suffic i ently in advance of tria l in order for

the defendant to make effective use of it at trial or at such

other t i me as the Court may order.

     The foregoing obligations are continuing ones and apply to

materials that become known to the Government in the future.

Additionally , if information is otherwise subject to disclosure ,

it must be disclosed regardless of whether the Government

credits it.

     In the event the Government believes that a disclosure

under this Order would compromise witness safety , victim rights ,

national security , a sensitive law - enforcement technique , or any

other substantial government interest , it may apply to the Court

for a modification of its obligations , which may include in

camera review or withholding or subjecting to a protective order

all or part of the information otherwise subject to disclosure .

     For purposes of this Order , the Government includes all

current or former federal , state , and local prosecutors , law -

enforcement officers , and other officers who have participated

in the prosecution , or investigation that led to the

prosecution , of the offense or offenses with which the defendant

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is charged.      The Government has an affirmative obligation to

seek from such sources all information subject to disclosure

under this Order .

         If the Government fails to comply with this Order , the

Court , in addition to ordering production of the information ,

may :

   (1)        specify the terms and conditions of such production ;

   (2)        grant a continuance ;

   (3)        impose evidentiary sanctions;

   (4)        impose sanctions on any responsible lawyer for the
         Government ;

   (5)        dismiss charges before trial or vacate a conviction
         after tr i al or a guilty plea; or

   (6)        enter any other order that is just under the
         circumstances.


         SO ORDERED .

Dated: October 29, 2020
       New York, New York                       /s/ John G. Koeltl
                                                  John G. Koeltl
                                            United States District Judge




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